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                                                                           10
                                                                                                              UNITED STATES DISTRICT COURT
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                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                           12

                                                                           13   SUMMER WHITESIDE, individually and on          Case No.: 5:22-cv-01988-JGB-SP
                                                                                behalf of all others similarly situated,
                                                                           14                                                  FIRST AMENDED CLASS ACTION
                                                                                                      Plaintiff,               COMPLAINT
                                                                           15
                                                                                      vs.                                         1. Violation of Unfair Competition Law
                                                                           16                                                        (Cal. Bus. & Prof. Code §§ 17200, et
                                                                                KIMBERLY-CLARK CORP.,                                seq.)
                                                                           17                                                     2. Violation of False Advertising Law
                                                                                                      Defendant.                     (Cal. Bus. & Prof. Code §§ 17500, et
                                                                           18                                                        seq.)
                                                                                                                                  3. Violation of Consumers Legal
                                                                           19                                                        Remedies Act (Cal. Civ. Code §§
                                                                                                                                     1750, et seq.)
                                                                           20                                                     4. Breach of Warranty
                                                                                                                                  5. Unjust Enrichment
                                                                           21
                                                                                                                               JURY TRIAL DEMANDED
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                                                                                                                   CLASS ACTION COMPLAINT
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                                                                                                                  FIRST AMENDED CLASS ACTION COMPLAINT
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                                                                            1                                             COMPLAINT

                                                                            2          1.      Plaintiff Summer Whiteside (“Plaintiff”), individually and on behalf of all others

                                                                            3   similarly situated, as more fully described herein (the “Class” and/or “Class Members”), brings

                                                                            4   this class action against Defendant Kimberly-Clark Corp. (“Defendant” and or “Kimberly-

                                                                            5   Clark”), and alleges the following based upon information and belief, unless otherwise expressly

                                                                            6   stated as based upon personal knowledge.

                                                                            7   I.    INTRODUCTION

                                                                            8          2.      Synopsis. In an effort to increase profits and to obtain an unfair advantage over its
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                                                                            9   lawfully acting competitors, Defendant falsely and misleadingly labels certain of its Huggies brand
                                                                           10   wipe products with the following claims: “Plant-based wipes” and “natural care” deliberately
                                                                           11   leading reasonable consumers, including Plaintiff, to incorrectly believe that the Products are
                                                                           12   composed of only water, natural ingredients, and ingredients that come from plants and that have
                                                                           13   not undergone substantial processing (hereinafter, “Plant-Based Representation,” and/or
                                                                           14   “Natural Care Representation,” and/or “Challenged Representations”). Defendant reinforces
                                                                           15   the Challenged Representations on the Products’ packaging by displaying images of plants,
                                                                           16   including leaves and trees, and by using green/blue coloring, further perpetuating the notion that the
                                                                           17   Products are natural and plant-based. Fair and accurate depictions of the Products’ top-facing labels
                                                                           18   or packaging (Huggies Natural Care® Baby Wipes (Sensitive) and Huggies Natural Care® Baby

                                                                           19   Wipes (Refreshing)), are depicted below with the Challenged Representations circled in red.

                                                                           20   ///

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                                                                            1   Huggies Natural Care® Baby Wipes (Sensitive, 56 Count—Original Packaging) (Exhibit 1-1A):

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                                                                           14   (see also Huggies Natural Care® Baby Wipes (Sensitive), Exhibit 1-1A to 1-1M); and
                                                                           15   Huggies Natural Care® Baby Wipes (Refreshing, 56 Count—Original Packaging) (Exhibit 1-2A):
                                                                           16

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                                                                           28   (see also Huggies Natural Care® Baby Wipes (Refreshing), Exhibit 1-2A to 1-2M.
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                                                                            1           3.      The    Deception      of   the   Challenged      Representations.      The    Challenged

                                                                            2   Representations have misled reasonable consumers, including Plaintiff, into believing the Products

                                                                            3   only contain water, natural ingredients, and ingredients that come from plants and that are not

                                                                            4   subject to chemical modification or processing. However, contrary to the labeling, the Products

                                                                            5   contain numerous ingredients that are not natural and do not come from plants whatsoever,

                                                                            6   including artificial or synthetic ingredients. In addition to the synthetic ingredients that are not plant-

                                                                            7   based and not natural, the Products contain numerous ingredients that have been subjected to

                                                                            8   chemical modification or processing. These ingredients are subjected to substantial chemical
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                                                                            9   modification and processing, such that the resulting ingredient used in the Products is a synthetically
                                                                           10   created ingredient. Through falsely, misleadingly, and deceptively labeling and advertising the
                                                                           11   Products, Defendant sought to take advantage of consumers’ desire, perceived value, and
                                                                           12   willingness to pay more for plant-based and natural products as consumers view such products to
                                                                           13   be natural and therefore healthier, safer, and more environmentally conservative than non-natural,
                                                                           14   non-plant-based products. In this way, Defendant has charged consumers a premium for non-plant-
                                                                           15   based and non-natural products falsely advertised and warranted as “plant-based” and “natural,”
                                                                           16   while cutting costs and reaping the financial benefits of utilizing cheaper- and easier-to-procure
                                                                           17   ingredients that are not water and either do not come from plants or were artificially created,
                                                                           18   synthesized, or subjected to substantial processing. Defendant has done so at the expense of

                                                                           19   unwitting consumers, as well as Defendant’s lawfully acting competitors, over whom Defendant

                                                                           20   maintains an unfair competitive advantage. Accordingly, Defendant’s Plant-Based and Natural Care

                                                                           21   Representations are misleading and deceptive, and therefore unlawful.

                                                                           22           4.      Products. The Products at issue are the Huggies Natural Care® brand baby wipes

                                                                           23   sold to consumers in the United States that contain the Challenged Representations on the front

                                                                           24   labels and/or packaging, regardless of the Products’ size or variations—such as wipe count or type

                                                                           25   of packaging (e.g., original packaging or Disney packaging) (collectively referred to herein and

                                                                           26   throughout this complaint as the “Products”), which include, but not necessarily limited to, the

                                                                           27   following products:

                                                                           28
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                                                                            1               a. Huggies Natural Care® Baby Wipes (Sensitive), in all variations or packaging types

                                                                            2                  (Original or Disney) and in all sizes (including, but not limited to, 56 count, 168 count,

                                                                            3                  184 count, 288 count, 352 count, 488 count, 528 count, 560 count, 624 count, 960

                                                                            4                  count, and 1088 count). See Exhibit 1-1A to 1-1M [Product Images for Huggies

                                                                            5                  Natural Care® Baby Wipes (Sensitive)]; and

                                                                            6               b. Huggies Natural Care® Baby Wipes (Refreshing), in all variations or packaging

                                                                            7                  types (Original or Disney) and in all sizes (including, but not limited to, 56 count, 168

                                                                            8                  count, 184 count, 288 count, 352 count, 488 count, 528 count, 560 count, 624 count,
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                                                                            9                  960 count, and 1088 count). See Exhibit 1- 2A to 1-2M [Product Images for Huggies
                                                                           10                  Natural Care® Baby Wipes (Refreshing)].
                                                                           11          5.        Primary Dual Objectives.        Plaintiff brings this action, individually and in a
                                                                           12   representative capacity on behalf of those similarly situated consumers who purchased the Products
                                                                           13   during the relevant Class Period (Class and/or Subclass defined infra), for dual primary objectives:
                                                                           14   One, Plaintiff seeks, on Plaintiff’s individual behalf and on behalf of the Class/Subclass, a monetary
                                                                           15   recovery of the price premium Plaintiff and consumers overpaid for Products that should, but fail
                                                                           16   to, comport with the Challenged Representations (which may include, for example, damages,
                                                                           17   restitution, disgorgement, and/or any applicable penalties, fines, or punitive/exemplary damages)
                                                                           18   solely to the extent that the causes of action pled herein permit such recovery. Two, Plaintiff seeks,

                                                                           19   on her individual behalf and on behalf of the Class/Subclass, injunctive relief to stop Defendant’s

                                                                           20   unlawful manufacture, marketing, and sale of the Products with the Challenged Representations to

                                                                           21   avoid or mitigate the risk of deceiving the public into believing that the Products conform to the

                                                                           22   Challenged Representations, by requiring Defendant to change its business practices, which may

                                                                           23   include one or more of the following: removal or modification of the Challenged Representations

                                                                           24   from the Products’ labels and/or packaging, removal or modification of the Challenged

                                                                           25   Representations from the Products’ advertising, modification of the Product’s formulation be it a

                                                                           26   change in ingredients or their sourcing and manufacturing processes, and/or discontinuance of the

                                                                           27   Product’s manufacture, marketing, and/or sale.

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                                                                            1   II.    JURISDICTION

                                                                            2          6.       This Court has original jurisdiction over this action pursuant to the Class Action

                                                                            3   Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class consists of 100 or more

                                                                            4   members; the amount in controversy exceeds $5,000,000, exclusive of costs and interest; and

                                                                            5   minimal diversity exists. This Court also has supplemental jurisdiction over the state law claims

                                                                            6   pursuant to 28 U.S.C. § 1367.

                                                                            7   III.   VENUE

                                                                            8          7.       Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of
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                                                                            9   the events and omissions giving rise to Plaintiff’s claims occurred in this District. Plaintiff purchased
                                                                           10   the unlawful Products in this District, and Defendant has deliberately marketed, advertised, and sold
                                                                           11   the Products within this District using the Challenged Representations.
                                                                           12 IV.      PARTIES

                                                                           13          A.     Plaintiff

                                                                           14          8.       Plaintiff Summer Whiteside. The following is alleged based upon Plaintiff

                                                                           15   Whiteside’s personal knowledge:

                                                                           16                 a. Residence. Plaintiff is a resident of Murrieta, California.
                                                                           17
                                                                                              b. Purchase Details. Plaintiff purchased Huggies Natural Care® Baby Wipes
                                                                           18                    (Sensitive) in 56 count size approximately every other week from in or around
                                                                                                 October 2021 through in or around February 2022 at a Target retail store in
                                                                           19                    Murrieta, California, paying approximately $2.39 per pack of wipes during the
                                                                                                 Class Period.
                                                                           20

                                                                           21                 c. Reliance on Challenged Representations. In making the purchase, Plaintiff read
                                                                                                 the Challenged Representations on the Product’s labels and packaging, leading
                                                                           22                    Plaintiff to believe that the Product was plant-based and natural—i.e., the Product
                                                                                                 was composed of water and only ingredients that were natural and come from
                                                                           23                    plants, which are neither artificial, synthetic, or highly processed. See, e.g., Ex. 1-
                                                                                                 1A [Natural Care, 56 Count, Labels].
                                                                           24

                                                                           25                 d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff did not know
                                                                                                 that the Challenged Representations were false in that Plaintiff did not know that
                                                                           26                    the Products were not actually natural and not plant-based—i.e., Plaintiff did not
                                                                                                 know that the Products’ were not composed entirely of water and plant and natural
                                                                           27                    ingredients, but instead included ingredients that were not water, were not natural,
                                                                                                 and did not come from plants because they are artificial, synthetic, and highly
                                                                           28
                                                                                                 processed.
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                                                                            1                 e. No Notice of Contradictions. Plaintiff did not notice any disclaimer, qualifier, or
                                                                            2                    other explanatory statement or information on the Products’ labels or packaging
                                                                                                 that contradicted the prominent Challenged Representations or otherwise
                                                                            3                    suggested that the Products were not, in fact, plant-based and natural and therefore
                                                                                                 did, in fact, contain ingredients that were not water, not plant-based, and were
                                                                            4                    artificial, synthetic, or highly processed.
                                                                            5
                                                                                              f. Causation/Damages. Plaintiff would not have purchased the Products or would
                                                                            6                    not have paid as much for the Products, had Plaintiff known that they were not
                                                                                                 plant-based and not natural—i.e., that the Products were not composed entirely of
                                                                            7                    water and natural and plant ingredients, but instead contained ingredients that
                                                                                                 were not water and were artificial, synthetic, and/or highly processed.
                                                                            8
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                                                                                              g.   Desire to Repurchase. Plaintiff continues to see the Products available for
                                                                            9
                                                                                                   purchase and desires to purchase them again if the Challenged Representations
                                                                           10                      were in fact true.

                                                                           11                 h. Lack of Personal Knowledge/Expertise to Determine Truth. Plaintiff does not
                                                                                                 personally know what ingredients are actually contained in the Products or the
                                                                           12                    methods used to make the Products (including sourcing and manufacturing
                                                                                                 processes), and Plaintiff does not possess any specialized knowledge or general
                                                                           13
                                                                                                 familiarity with the Products’ ingredients or the methods typically used to obtain
                                                                           14                    or make such ingredients (including sourcing and manufacturing processes), such
                                                                                                 that Plaintiff does not personally know and cannot determine whether the
                                                                           15                    Products’ ingredients: (a) come from plants or some other raw materials, (b) are
                                                                                                 naturally harvested or artificially created or synthesized, or (c) have undergone
                                                                           16                    substantial synthetic processing; and, therefore, Plaintiff has no way of
                                                                           17                    determining whether the Challenged Representations on the Products are true.

                                                                           18                 i. Inability to Rely. Plaintiff is, and continues to be, unable to rely on the truth of
                                                                                                 the Challenged Representations on the Products’ labels.
                                                                           19
                                                                                       9.      Plaintiff’s Future Harm. Defendant continues to market and sell the Products with
                                                                           20
                                                                                the Challenged Representations. Plaintiff would like to purchase the Products in the future if they
                                                                           21
                                                                                lived up to and conformed with the Challenged Representations. However, Plaintiff is an average
                                                                           22
                                                                                consumer who is not sophisticated in the chemistry, manufacturing, and formulation of personal
                                                                           23
                                                                                care products, such as the Products. Indeed, Plaintiff does not have any personal knowledge
                                                                           24
                                                                                regarding the ingredients, or the methods Defendant used to make them (including sourcing and
                                                                           25
                                                                                manufacturing processes). Thus, Plaintiff cannot accurately differentiate between ingredients that
                                                                           26
                                                                                are natural and come from plants, as opposed to other ingredients that are synthetic, artificial, and
                                                                           27
                                                                                highly processed ingredients. Since Plaintiff wants to purchase the Products again to obtain the
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                                                                            1   benefits of the Challenged Representations—despite the fact that the Products were once marred by

                                                                            2   false advertising or warranties—Plaintiff would likely and reasonably, but incorrectly, assume the

                                                                            3   Products are true to and conform with the Challenged Representations on their labels, packaging,

                                                                            4   and Defendant’s advertisements, including Defendant’s websites and social media platforms.

                                                                            5   Accordingly, Plaintiff is at risk of reasonably, but incorrectly, assuming that Defendant has fixed

                                                                            6   the Products’ advertising such that Plaintiff may buy them again, believing they are no longer falsely

                                                                            7   advertised and warranted. In this regard, Plaintiff is currently and in the future deprived of the ability

                                                                            8   to rely on the Challenged Representations in deciding to purchase the Products.
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                                                                            9         B.      Defendant
                                                                           10           10.     Defendant Kimberly-Clark Corp. (“Defendant”) is headquartered and/or

                                                                           11   maintains a principal place of business in the State of Texas. Defendant was doing business in the

                                                                           12   State of California at all relevant times, including the Class Period. Directly and through its agents,

                                                                           13   Defendant has substantial contacts with and receives substantial benefits and income from and

                                                                           14   through the State of California. Defendant is the owner, manufacturer, marketer, and/or distributor

                                                                           15   of the Products, and created, authorized, and controlled the use of the Challenged Representations

                                                                           16   to market the Products. Defendant and its agents promoted, marketed, and sold the Products at issue

                                                                           17   throughout the United States and, in particular, within this judicial district. The unfair, unlawful,

                                                                           18   deceptive, and misleading Challenged Representations on the Products were prepared, authorized,

                                                                           19   ratified, and/or approved by Defendant and its agents to deceive and mislead consumers in the State

                                                                           20   of California and the United States into purchasing the Products.

                                                                           21   V.    FACTUAL ALLEGATIONS

                                                                           22         A.      Market and Regulatory Background

                                                                           23           11.     Consumer Demand for Natural and Plant-Based Products. In recent years,

                                                                           24   consumers have poured billions of dollars into the “plant-based” and “natural” personal care

                                                                           25   market. 1 Consumers value natural, plant-based products for their perceived benefits of avoiding

                                                                           26   diseases, attaining health and wellness, helping the environment, assisting local farmers, assisting

                                                                           27   1
                                                                                 See generally Plant-Based Personal Care Products, Eternal Spiral Books (Nov. 24, 2018),
                                                                           28   https://eternalspiralbooks.com/plant-based-personal-care-products/ (last accessed October 19,
                                                                                2022).
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                                                                            1   factory workers who would otherwise be exposed to synthetic and hazardous substances, and

                                                                            2   financially supporting the companies that share these values. 2 As such, there is a recognized

                                                                            3   association among consumers and the concept of nature (e.g., “natural” and “plant-based” products)

                                                                            4   and positive feelings associated with nature. Peer-reviewed published research has found that the

                                                                            5   perceived naturalness of a product is “very important” to consumers. 3 In response to consumers’

                                                                            6   desire for plant-based and natural products, many companies, including Defendant, have scrambled

                                                                            7   to manufacture, market, and sell purportedly “plant-based” and “natural” products in an effort to

                                                                            8   gain market share. Unfortunately, rather than creating the plant-based and natural products
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                                                                            9   consumers desire, Defendant has instead chosen to “greenwash” the Products and market them
                                                                           10   through deceptive labeling and advertising (i.e., the Challenged Representations) to convince
                                                                           11   consumers the Products are natural and plant-based when, in reality, they contain numerous
                                                                           12   synthetic, artificial, and highly processed ingredients.
                                                                           13          12.      FTC Guidelines.
                                                                           14                  a. In response to this consumer fraud, the United States Federal Trade Commission
                                                                           15                      (“FTC”) created the “Green Guides” to help companies avoid making misleading
                                                                           16                      and deceptive claims. 4 As relevant here, the FTC stated:
                                                                           17                                 Marketers,     nevertheless,     are   responsible for
                                                                                                              substantiating consumers’ reasonable understanding of
                                                                           18                                 “biobased,” and other similar claims, such as “plant-
                                                                                                              based,” in the context of their advertisements.
                                                                           19
                                                                                                   16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims, p.
                                                                           20
                                                                                                   246. 5 Here, Defendant disregarded FTC guidelines on “Plant-Based” claims,
                                                                           21
                                                                                                   opting to manufacture the Products with ingredients that are neither water nor
                                                                           22
                                                                                                   plant, and at times entirely artificial, synthetic, or substantially processed. Thus,
                                                                           23
                                                                                                   Defendant did not fulfill its responsibility to “substantiat[e] consumers’
                                                                           24

                                                                           25
                                                                                2
                                                                                  Id.
                                                                           26   3
                                                                                  S. Roman et al., The importance of food naturalness for consumers: Results of a systematic
                                                                           27   review, Trends in Food Science & Technology (2017) 67:44-57.
                                                                                4
                                                                                  See generally 16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims.
                                                                                5
                                                                           28     Available at https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-issues-revised-
                                                                                green-guides/greenguidesstatement.pdf (emphasis added).
                                                                                                                                   8
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                                                                            1                    reasonable understanding of . . . ‘plant-based’” advertising claims as reasonable

                                                                            2                    consumers, such as Plaintiff, reasonably believe that “plant-based” Products only

                                                                            3                    contain water or plant ingredients that have not undergone substantial processing.

                                                                            4                 b. The FTC has also cautioned “[m]arketers that are using terms such as natural

                                                                            5                    must ensure that they can substantiate whatever claims they are conveying to

                                                                            6                    reasonable consumers. If reasonable consumers could interpret a natural claim as

                                                                            7                    representing that a product contains no artificial ingredients, that the marketer

                                                                            8                    must be able to substantiate that fact.” Guides for the Use of Environmental
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                                                                            9                    Marketing Claims, 75 FR 63552-01, 63586 (Oct. 15, 2010).
                                                                           10         13.     Definitions.
                                                                           11                 a. Dictionary: Plant-Based. The Merriam-Webster standard dictionary defines
                                                                           12                    “plant-based” as “made or derived from plants” and “consisting primarily or
                                                                           13                    entirely of food (such as vegetables, fruits, nuts, oils, and beans) derived from
                                                                           14                    plants.” 6
                                                                           15                 b. Dictionary: Natural.      The Merriam-Webster standard dictionary defines

                                                                           16                    “natural” as “existing in or produced by nature: not artificial,” and “not having

                                                                           17                    any extra substances or chemicals added: not containing anything artificial.” 7

                                                                           18                 c. Synthetic. “The term ‘synthetic’ means a substance that is formulated or

                                                                           19                    manufactured by a chemical process or by a process that chemically changes a

                                                                           20                    substance extracted from naturally occurring plant, animal, or mineral sources[.]”

                                                                           21                    7 U.S.C. § 6502 (21).

                                                                           22                 d. Dictionary: Artificial. The Merriam-Webster standard dictionary defines

                                                                           23                    “artificial” as “humanly contrived” and “MAN-MADE.” 8

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                                                                                6
                                                                                  Merriam-Webster.com, plant-based, available at https://www.merriam-
                                                                           26   webster.com/dictionary/plant-based (accessed 11/3/2022).
                                                                                7
                                                                                  Merriam-Webster.com, natural, available at https://www.merriam-
                                                                           27
                                                                                webster.com/dictionary/natural (accessed 11/3/2022).
                                                                           28
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                                                                                  Merriam-Webster.com, artificial, available at https://www.merriam-
                                                                                webster.com/dictionary/artificial (accessed 11/3/2022).
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                                                                            1          14.      Consumer Perception. Accordingly, reasonable consumers, like Plaintiff, interpret

                                                                            2   the Plant-Based Representation and the Natural Care Representation to mean that the Products

                                                                            3   contain no non-natural, artificial, and/or synthetic ingredients.

                                                                            4         B.      Defendant’s Brand Strategy

                                                                            5          15.      Brand Strategy. Defendant deliberately created and executed a brand strategy to

                                                                            6   distinguish the Huggies Natural Care® brand, company, and the Products at issue in this case, as

                                                                            7   clean, sustainable, and well-designed products that are natural and plant-based. Defendant labels the

                                                                            8   Products’ packaging with the Challenged Representations: “Plant-based wipes” and “natural care.”
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                                                                            9          16.      Challenged Representations on Products’ Labels. Defendant falsely and
                                                                           10   misleadingly labels the Products with the Challenged Representations: “PLANT-BASED WIPES”
                                                                           11   and “Natural Care” as depicted below.
                                                                           12

                                                                           13

                                                                           14

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                                                                           18
                                                                                       17.      The Challenged Representations on the Products’ packaging is conspicuous and
                                                                           19
                                                                                designed to grab the consumer’s attention.
                                                                           20

                                                                           21                 a. Product Name. The Challenged Representations are incorporated into the
                                                                                                 Products' name (“Huggies natural care”) and identification as a wipe (“Plant-based
                                                                           22                    wipes”), such that consumers will identify the Products according to these
                                                                                                 descriptive features and otherwise uses the Challenged Representations as part of
                                                                           23                    the Products’ name. See generally Exhibit 1 [Product Images].
                                                                           24
                                                                                              b. Placement. The Challenged Representations are prominently placed on each of
                                                                           25                    the Products’ primary display panel of the front label or packaging, immediatelyt
                                                                                                 underneath the Products’ brand name (“HUGGIES”). See Exhibit 1 [Product
                                                                           26                    Images].
                                                                           27                 c. Repetition. The Challenged Representations are repeatedly used on the sides or
                                                                           28                    panels of the Product’s packaging, including the front and side panels. See Exhibit
                                                                                                 1 [Product Images].
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                                                                            1                 d. Sparsity. The Challenged Representations are not hidden in a sea of information;
                                                                            2                    rather, the front and side display panels contain scant information about the
                                                                                                 Products, largely limited to the brand name (Huggies) and a few claims about the
                                                                            3                    Products’ attributes (e.g., “Sensitive” and “With Cucumber & Green Tea"). See
                                                                                                 Exhibits 1-2 [Product Images].
                                                                            4
                                                                                              e. Typeface. The Challenged Representations stand out from the scant information
                                                                            5
                                                                                                 contained on the front panel, prominently displayed with a bold and large
                                                                            6                    typeface, clear and legible font, and highly visible black, blue, and green letters
                                                                                                 that starkly contrast with the Products’ background. See Exhibits 1-2 [Product
                                                                            7                    Images].

                                                                            8                 e. Imagery. Defendant uses imagery to reinforce the Challenged Representations.
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                                                                                                 The Challenged Representations are alongside an image of plants, including trees
                                                                            9
                                                                                                 and leaves. See Exhibits 1-2 [Product Images].
                                                                           10
                                                                                              f. Trademarked Logo. Indeed, Defendant trademarked a company logo—
                                                                           11                    specifically the Products name, “HUGGIES natural care®,” which is on the front
                                                                                                 and center of the Products’ labeling.
                                                                           12

                                                                           13          18.     To draw consumers’ attention, the Challenged Representations are prominently
                                                                           14   displayed in the center of the label; bold typeface; clear; legible; and highly visible green or blue
                                                                           15   font; all of which starkly contrasts with the packaging’s vast white background. Furthermore,
                                                                           16   Defendant includes imagery of plants on the Products’ labeling and packaging (e.g., flowers and
                                                                           17   trees). The net-effect or net-impression on consumers is that the Products contain only natural
                                                                           18   ingredients that come from plants and do not contain ingredients that do not come from plants or
                                                                           19   ingredients that are subject to chemical modification and/or processing. See Exhibit 1 [Product
                                                                           20   Images]; Exhibit 2 [Ingredient Disclosures].
                                                                           21         C.      Falsity of the Challenged Representations
                                                                           22          19.     The Challenged Representations. Although each of the Products at issue is labeled
                                                                           23   and advertised with the Natural Care Representation and the Plant-Based Representation, the
                                                                           24   Products are chock full of ingredients that are not water, are not natural, and do not come from
                                                                           25   plants, and, in many instances, are artificially created, synthesized, or highly processed. Exhibit 2
                                                                           26   [Ingredient Disclosures]. Specifically:
                                                                           27         a.      Huggies Natural Care® Baby Wipes (Sensitive), in all packaging types or variations
                                                                           28                 and sizes, contains the following ingredients that are not water, are not natural, and
                                                                                                                                 11
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                                                                            1                are not plants:

                                                                            2                    (1)    Butoxy PEG-4 PG-Amodimethicone: Is a polyethlene glycol (PEG). PEGs
                                                                            3                           are petroleum-based compounds that are used to enhance skin penetration
                                                                                                        of other chemicals. Butoxy PEG-4 PG-amodimethicone has contamination
                                                                            4                           concerns with ethylene oxide, a known carcinogen. PEG-4 is a polymer of
                                                                                                        ethylene oxide alcohol and is a humectant and solvent in cosmetic
                                                                            5                           products. 9 PEGs are synthetic.
                                                                            6
                                                                                                 (2)    Caprylyl Glycol: Is also known as 1,2-Octabediol. It is a skin and hair
                                                                            7                           conditioning agent and is synthetically produced by catalytic oxidation of
                                                                                                        ethylene glycol, a petrochemical process.
                                                                            8
                                                                                                 (3)    Coco-Betaine: Is an emulsifying agent and thickener. It is the commercial
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                                                                            9                           name for the surfactant cocamidopropyl betaine. Cocamidopropyl betaine
                                                                                                        is a synthetic ingredient resulting from by the chemical synthesis of fatty
                                                                           10
                                                                                                        acids and dimethylaminopropylamine. Dimethylaminopropylamine has
                                                                           11                           been found to be a residual impurity resulting from the commercial
                                                                                                        cocamidopropyl betaine synthesis and is a known skin irritant.
                                                                           12
                                                                                                 (4)    Malic Acid: Is a pH balancer. It is synthetically produced either by the
                                                                           13                           catalytic oxidation of benzene, which produces maleic acid, which is then
                                                                                                        converted to malic acid by heating with steam under pressure, or by the
                                                                           14
                                                                                                        hydration of fumaric acid.
                                                                           15
                                                                                                 (5)    Polysorbate 20: Is a complex mixture of oligomers that include
                                                                           16                           polyethylene glycols, polyethylene glycol esters, isosorbide
                                                                                                        polyethoxylates, sorbitan polyethoxylates, polysorbate monoesters,
                                                                           17                           polysorbate diesters, and sorbitol polyethoxylate esters. It is a surfactant,
                                                                           18                           formed by the ethoxylation of sorbitan monolaurate, is produced with the
                                                                                                        carcinogen, ethylene oxide, and has contamination concerns with 1,4-
                                                                           19                           dioxane, another carcinogen. It is a polyethoxylated sorbitan or sorbital
                                                                                                        esters of fatty acids. There are two common routes of synthesis. In the first,
                                                                           20                           sorbitol is esterified with fatty acids and then dehydrated. These
                                                                                                        dehydration products react with a fatty acid to form sorbitan esters, which
                                                                           21                           are ethoxylated to form polysorbate-20. In the second, sorbitol is reacted
                                                                           22                           with ethylene oxide and a basic catalyst at high temperatures. The products
                                                                                                        are subsequently esterified with fatty acids to produce polysorbate-20. It
                                                                           23                           is a synthetic ingredient.

                                                                           24                    (6)    Sodium Benzoate: Is a chemical preservative that does not occur naturally
                                                                                                        and is used to prevent bacteria contamination. Sodium benzoate is the
                                                                           25                           chemical benzoate of soda (C7H5NaO2), produced by the neutralization
                                                                           26                           of benzoic acid with sodium bicarbonate, sodium carbonate, or sodium
                                                                                                        hydroxide.
                                                                           27
                                                                                9
                                                                           28         See Final report on the safety assessment of Triethylene Glycol and PEG-4. Int J Toxicol.
                                                                                2006;25 Suppl 2:121-38.
                                                                                                                                12
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                                                                            1                 (7)     Sodium Citrate: Is the trisodium salt of citric acid, which is synthetically
                                                                            2                         created by mycological fermentation of crude sugar stocks. Sodium citrate
                                                                                                      is listed as being “synthetic” under 7 C.F.R. § 205.605.
                                                                            3
                                                                                     b.    Huggies Natural Care® Baby Wipes (Refreshing), in all packaging types or
                                                                            4
                                                                                           variations and sizes, contains the following ingredients that are not water, are not
                                                                            5
                                                                                           natural, and are not plants:
                                                                            6
                                                                                              (1)     Butoxy PEG-4 PG-Amodimethicone: See supra.
                                                                            7
                                                                                              (2)     Caprylyl Glycol: See supra.
                                                                            8
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                                                                            9                 (3)     Coco-Betaine: See supra.

                                                                           10                 (4)     Fragrance: Synthetic compounds composed of petroleum by-
                                                                                                      products, such as benzene derivatives, aldehydes, toluene, and other
                                                                           11                         known toxic chemicals.
                                                                           12
                                                                                              (5)     Glycerin: Is synthetic, produced by the hydrogenolysis of carbohydrates.
                                                                           13                         Hydrogenolysis is the chemical reaction whereby a carbon-carbon or
                                                                                                      carbon-heteroatom single bond is cleaved or undergoes lysis by hydrogen.
                                                                           14                         Multiple methods exist for the synthetic manufacture of glycerin. The
                                                                                                      starting materials for the synthetic production of glycerin include allyl
                                                                           15                         chloride, acrolein, propylene oxide, sugars, certain polyalchols, fats, or
                                                                                                      epichlorohydrin.
                                                                           16

                                                                           17                 (6)     Malic Acid: See supra.

                                                                           18                 (7)     Polysorbate 20: See supra.
                                                                           19                 (8)     Sodium Benzoate: See supra.
                                                                           20
                                                                                              (9)     Sodium Citrate: See supra.
                                                                           21
                                                                                              (10)    Tocopheryl Acetate: A synthetic, highly processed form of Vitamin E,
                                                                           22                         manufactured by the esterification of dl-α-tocopherol with acetic acid.
                                                                           23

                                                                           24

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                                                                            1         D.      Plaintiff and Reasonable Consumers Were Misled by the Challenged

                                                                            2                 Representations into Buying the Products, to Their Detriment, Consistent with

                                                                            3                 Defendant’s Deliberate Marketing Scheme to Exact a Premium for the Falsely

                                                                            4                 Advertised Products

                                                                            5          20.      Products. Defendant manufactures, markets, promotes, advertises, labels, packages,

                                                                            6   and sells the Products—specifically, Huggies brand Natural Care® and Plant-Based baby wipes

                                                                            7   that contain the Challenged Representations on their packaging and labels.

                                                                            8          21.      The Challenged Representations. On the Products’ labeling and packaging,
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                                                                            9   Defendant prominently, conspicuously, and repeatedly displays the Challenged Representations—
                                                                           10   specifically, “Plant-based wipes” and “natural care” (see Exhibits 1 [Product Images]).
                                                                           11          22.      Reasonable Consumer’s Perception. The Challenged Representations lead
                                                                           12   reasonable consumers, like Plaintiff, into believing that the Products conform to the Challenged
                                                                           13   Representations. Reasonable consumers interpret the Challenged Representations to mean that the
                                                                           14   Products are “plant-based” and “natural”—meaning, the Products only contain water and natural
                                                                           15   ingredients that come from plants, which are not artificially created, synthesized, or subjected to
                                                                           16   substantial processing.
                                                                           17          23.      Materiality. The Challenged Representations are material to reasonable consumers,
                                                                           18   including Plaintiff, in deciding to buy the Products—meaning that the Products’ “Plant-Based” and

                                                                           19   “Natural Care” attributes are important to consumers and motivates them to buy the Products.

                                                                           20          24.      Reliance. The Class, including Plaintiff, reasonably relied on the Challenged

                                                                           21   Representations in deciding to purchase the Products.

                                                                           22          25.      Falsity. The Challenged Representations are false and deceptive because the

                                                                           23   Products are not entirely natural and plant-based—meaning that the Products are not exclusively

                                                                           24   comprised of water and plant and natural ingredients. Instead, they contain ingredients that are not

                                                                           25   water, do not come from plants, are not natural, and instead are artificially created, synthesized, and

                                                                           26   substantially processed.

                                                                           27          26.      Consumers Lack Knowledge of Falsity. Consumers, including Plaintiff, do not

                                                                           28   know, and have no reason to know, at the time of purchase, that the Products’ Challenged
                                                                                                                                  14
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                                                                            1   Representations are false, misleading, deceptive, and unlawful. That is because consumers,

                                                                            2   including Plaintiff, do not work for Defendant and therefore have no personal knowledge of the

                                                                            3   actual ingredients used to formulate the Products, including the methods used to source and

                                                                            4   manufacture those ingredients. Additionally, most consumers do not have the specialized

                                                                            5   knowledge of a chemist or product-developer, or an encyclopedic knowledge base of every chemical

                                                                            6   or ingredient name and the standard methods used to source and manufacture them. Thus,

                                                                            7   reasonable consumers, like Plaintiff, cannot discern from the Products’ ingredient disclosures

                                                                            8   whether non-water ingredients come from plants and are natural or, instead, were artificially created,
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                                                                            9   synthesized, or substantially processed. Furthermore, reasonable consumers, like Plaintiff, do not
                                                                           10   ordinarily review information on the back or side panels of a consumer products’ packaging, like
                                                                           11   the Products’ packaging, particularly dense, fine-print ingredient disclosures, or review such
                                                                           12   information on websites. Indeed, studies show that only approximately 7.7% to 11.6% of people
                                                                           13   even look at a consumer product’s side or back labels before they buy it. 10
                                                                           14
                                                                                10
                                                                                         Grunert, Klaus, et. al, Nutrition knowledge, and use and understanding of nutrition
                                                                           15   information on food labels among consumers in the UK, 55 Appetite 177, at 179-181 (2010)
                                                                           16   available                                                                                          at
                                                                                https://reader.elsevier.com/reader/sd/pii/S0195666310003661?token=95E4146C1BB7D7A7C9A4
                                                                           17   87F22F0B445BD44499550086E04870765EBE116ED32DBFE3795E60B69C75831563CD1BC6
                                                                                655A&originRegion=us-east-1&originCreation=20220720162546 (last accessed July 20, 2022)
                                                                           18   (consumer purchasing behavior study using in-store observation and interview data collection
                                                                                methodology to realistically estimate the degree consumers use nutritional information (found on
                                                                           19   side/back panels of food product labels and packaging), finding: (1) only 11.6% of respondents,
                                                                           20   who looked at a product and placed it in their shopping cart, were actually observed looking at
                                                                                the side/back panels of its packaging or labels (panels other than the front panel) before placing
                                                                           21   it in the cart; (2) of those who looked at the side/back panels, only 31.8% looked at it the product
                                                                                “in detail” (i.e., 3.7% of respondents who looked at the product, looked at side/back panels in
                                                                           22   detail)); and (3) the respondents self-reported frequency of reviewing side/back panels (for
                                                                                nutritional information) is overreported by 50% when the in-store interview data and observational
                                                                           23   data are compared); Grunert, Klaus, et. al, Use and understanding of nutrition information on food
                                                                           24   labels in six European countries, 18(3) Journal of Public Health 261, 261, 263, 266 (2010), available
                                                                                at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2967247/ (last accessed July 20, 2022)
                                                                           25   (consumer purchasing behavior study using in-store observation and interview data collection
                                                                                methodology to evaluate whether people look at food labels before buying them, where they looked,
                                                                           26   and how long they looked, finding: (1) respondents spent, on average, approximately 35 seconds,
                                                                                per product, on products they bought; and (2) 62.6% of respondents looked at the front packaging,
                                                                           27
                                                                                and only 7.7% looked elsewhere (side/back panels) on the packaging, for products they bought);
                                                                           28   Benn, Yael, et al., What information do consumers consider and how do they look for it, when

                                                                                                                                 15
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                                                                            1           27.    Defendant’s Knowledge. Defendant knew, or should have known, that the

                                                                            2   Challenged Representations were false, misleading, deceptive, and unlawful, at the time that

                                                                            3   Defendant manufactured, marketed, advertised, labeled, and sold the Products using the Challenged

                                                                            4   Representations to Plaintiff and the Class. Defendant intentionally and deliberately used the

                                                                            5   Challenged Representations, alongside its marketing campaign and brand strategy, to cause Plaintiff

                                                                            6   and similarly situated consumers to buy the Products believing that the Challenged Representations

                                                                            7   are true.
                                                                                               a. Knowledge of Falsity. Defendant named and marketed the Products with the
                                                                            8                     Challenged Representations, but Defendant opted to formulate and manufacture
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                                                                            9                     them in a manner that does not conform to those representations. Specifically,
                                                                                                  Defendant named and advertised the Products as “Plant-Based” and “Natural
                                                                           10                     Care.” Instead of using only natural ingredients that are water or plants,
                                                                                                  Defendant chose to manufacture the Products with numerous ingredients that are
                                                                           11                     artificial, synthetic, or subjected to substantial processing. Further, Defendant
                                                                                                  admits that “synthetics and chemicals are the primary raw materials for
                                                                           12
                                                                                                  manufacturing nonwoven fabrics, which are used in … wet wipes[.]” 11
                                                                           13
                                                                                              b.   Knowledge of Reasonable Consumers’ Perception. Defendant knew, or
                                                                           14                      should have known, that the Challenged Representations would lead reasonable
                                                                                                   consumers into believing that the Products were entirely natural and plant-
                                                                           15                      based—meaning that the ingredients are natural and consist exclusively of water
                                                                                                   and plants; not artificial, synthetic, or substantially processed. Not only has
                                                                           16
                                                                                                   Defendant labeled and packaged each of the Products with the Challenged
                                                                           17                      Representations and utilized a brand strategy to identify the Products as plant-
                                                                                                   based and natural, but Defendant also has an obligation under section 5 of the
                                                                           18                      Federal Trade Commission Act, codified at 15 U.S.C. §§ 45, to evaluate its
                                                                                                   marketing claims from the perspective of the reasonable consumer. That means
                                                                           19                      Defendant was statutorily obligated to consider whether the Challenged
                                                                                                   Representations, be it in isolation or conjunction with its marketing campaign,
                                                                           20
                                                                                                   would mislead reasonable consumers into believing that the Products were
                                                                           21                      entirely plant-based and devoid of any artificial, synthetic, and substantially

                                                                           22   shopping for groceries online, 89 Appetite 265, 265, 270 (2015), available at
                                                                                https://www.sciencedirect.com/science/article/pii/S0195666315000422#bib0060 (last accessed Jul.
                                                                           23
                                                                                20, 2022) (consumer purchasing behavior study using online eye-movement tracking and
                                                                           24   recordation, finding: (1) once on the product webpages, respondents tend to look at the pictures of
                                                                                products, rather than examine detailed product information; and (2) by comparison to pictures of
                                                                           25   products where 13.83-19.07% of respondents fixated, far less fixated on subsidiary information:
                                                                                4.17% of respondents looked at nutrition information, 3.30% ingredients, 2.97% allergy
                                                                           26   information, and 0.09% recycling information for example).
                                                                           27   11
                                                                                   Form 10-K, 2021 Annual Report, executed on February 10, 2022, publicly available on its official
                                                                           28   website, and available at kimberly-clark.com/static-files/ddd8827b-32f9-41cc-bc57-e574b9dffb4f
                                                                                (last accessed October 19, 2022).
                                                                                                                                16
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                                                                                                    processed ingredients. Thus, Defendant either knew the Challenged
                                                                            1                       Representations are misleading before it marketed the Products to the Class,
                                                                            2                       including Plaintiff, or Defendant would have known that it is deceptive had it
                                                                                                    complied with its statutory obligations.
                                                                            3
                                                                                              c.    Knowledge of Materiality. Defendant knew or should have known that the
                                                                            4                       Challenged Representations are material to consumers. First, manufacturers and
                                                                                                    marketers, like Defendant, generally reserve the front primary display panel of
                                                                            5                       labels of packaging on consumer products for the most important and persuasive
                                                                            6                       information, which they believe will motivate consumers to buy the products.
                                                                                                    Here, the conspicuousness of the Challenged Representations on the Products’
                                                                            7                       labels and packaging demonstrates Defendant’s awareness of its importance to
                                                                                                    consumers and Defendant’s understanding that consumers prefer and are
                                                                            8                       motivated to buy products that conform to the Challenged Representations.
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                                                                                                    Second, manufacturers and marketers repeat marketing claims to emphasize and
                                                                            9                       characterize a brand or product line, shaping the consumers’ expectations,
                                                                           10                       because they believe those repeated messages will drive consumers to buy the
                                                                                                    Product. Here, the use of the Challenged Representations on the Products,
                                                                           11                       advertisements, and throughout Defendant’s marketing campaign, evidence
                                                                                                    Defendant’s awareness that the falsely advertised Product-attribute is important
                                                                           12                       to consumers. It also evidences Defendant’s intent to convince consumers that
                                                                                                    the Products conform to the Challenged Representations and, ultimately, drive
                                                                           13                       sales.
                                                                           14
                                                                                              d.    Defendant’s Continued Deception, Despite Its Knowledge. Defendant, as the
                                                                           15                       manufacturer and marketer of the Products, had exclusive control over the
                                                                                                    Challenged Representations’ inclusion on the Products’ labels, packaging, and
                                                                           16                       advertisements—i.e., Defendant readily and easily could have stopped using the
                                                                                                    Challenged Representations to sell the Products. However, despite Defendant’s
                                                                           17
                                                                                                    knowledge of the Challenged Representations falsity, and Defendant’s
                                                                           18                       knowledge that consumers reasonably rely on the Challenged Representations
                                                                                                    in deciding to buy the Products, Defendant deliberately chose to market the
                                                                           19                       Products with the Challenged Representations thereby misleading consumers
                                                                                                    into buying or overpaying for the Products. Thus, Defendant knew, or should
                                                                           20                       have known, at all relevant times, that the Challenged Representations misleads
                                                                                                    reasonable consumers, such as Plaintiff, into buying the Products to attain the
                                                                           21
                                                                                                    product-attributes that Defendant falsely advertised and warranted.
                                                                           22

                                                                           23          28.     Detriment. Plaintiff and similarly situated consumers would not have purchased
                                                                           24   the Products or would not have overpaid a price premium for the Products, if they had known that
                                                                           25   the Challenged Representations were false and, therefore, the Products do not have the attribute
                                                                           26   claimed, promised, warranted, advertised, and/or represented. Accordingly, based on Defendant’s
                                                                           27   material misrepresentations and omissions, reasonable consumers, including Plaintiff, purchased
                                                                           28   the Products to their detriment.
                                                                                                                                 17
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                                                                            1         E.      The Products are Substantially Similar

                                                                            2          29.     As described herein, Plaintiff purchased the Huggies Natural Care® Baby Wipes

                                                                            3   (Sensitive) (the “Purchased Products”). The additional Products (the “Unpurchased Products”)

                                                                            4   are substantially similar to the Purchased Products.

                                                                            5                 a. Defendant. All Products are manufactured, sold, marketed, advertised, labeled,
                                                                            6                    and packaged by Defendant.

                                                                            7                 b. Brand. All Products are sold under the same brand name: Huggies.

                                                                            8                 c. Purpose. All Products are baby wipes primarily intended to be used to wipe
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                                                                                                 substances away from human body surfaces.
                                                                            9

                                                                           10                 d. Key Ingredients. All Products are made from largely the same ingredients and
                                                                                                 contain non-plant-based and non-natural, chemically modified, and highly
                                                                           11                    processed ingredients, in overlapping combinations. See Exhibit 2 [Ingredient
                                                                                                 Disclosures].
                                                                           12
                                                                                              e. Marketing Demographics. All Products are marketed directly to consumers for
                                                                           13
                                                                                                 personal use.
                                                                           14
                                                                                              f. Challenged Misrepresentations. All Products contain the same Challenged
                                                                           15                    Representations: “Plant-based wipes” and “natural care” conspicuously and
                                                                                                 prominently placed on the primary display panel of the front label and/or
                                                                           16                    packaging. Defendant reinforces the Challenged Representations on the Products
                                                                                                 by displaying images of plants, including trees and leaves, and by using green/blue
                                                                           17
                                                                                                 coloring. See Exhibit 1 [Product Images].
                                                                           18
                                                                                              g. Packaging. All Products are packaged in similar packaging—using a white
                                                                           19                    background, and similar styles for written content. The Products share, the same
                                                                                                 marketing claims written on the packaging, including brand identity (Huggies
                                                                           20                    Natural Care), the same “Plant-Based” claims, and number of wipes (e.g., 56
                                                                           21                    wipes).

                                                                           22                 h. Misleading Effect. The misleading effect of the Challenged Representations on
                                                                                                 consumers is the same for all Products—consumers over-pay a premium for
                                                                           23                    natural care, plant-based Products, but receive Products that contain synthetic,
                                                                                                 artificial, and highly processed ingredients
                                                                           24

                                                                           25         F.      No Adequate Remedy at Law

                                                                           26          30.     No Adequate Remedy at Law. Plaintiff and members of the Class are entitled to

                                                                           27   equitable relief as no adequate remedy at law exists.

                                                                           28                 a. Broader Statutes of Limitations. The statutes of limitations for the causes of
                                                                                                                                 18
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                                                                                              action pled herein vary. The limitations period is four years for claims brought
                                                                            1                 under the UCL, which is one year longer than the statutes of limitations under the
                                                                                              FAL and CLRA. In addition, the statutes of limitations vary for certain states’
                                                                            2                 laws for breach of warranty and unjust enrichment/restitution, between
                                                                                              approximately 2 and 6 years. Thus, California Subclass members who purchased
                                                                            3                 the Products more than 3 years prior to the filing of the complaint will be barred
                                                                                              from recovery if equitable relief were not permitted under the UCL. Similarly,
                                                                            4                 Nationwide Class members who purchased the Products prior to the furthest
                                                                                              reach-back under the statute of limitations for breach of warranty, will be barred
                                                                            5                 from recovery if equitable relief were not permitted for restitution/unjust
                                                                                              enrichment.
                                                                            6
                                                                                           b. Broader Scope of Conduct. In addition, the scope of actionable misconduct
                                                                            7                 under the unfair prong of the UCL is broader than the other causes of action
                                                                                              asserted herein. It includes, for example, Defendant’s overall unfair marketing
                                                                            8                 scheme to promote and brand the Products with the Challenged Representations,
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                                                                                              across a multitude of media platforms, including the Products’ labels and
                                                                            9                 packaging, over a long period of time, in order to gain an unfair advantage over
                                                                                              competitor products and to take advantage of consumers’ desire for products that
                                                                           10                 comport with the Challenged Representations. The UCL also creates a cause of
                                                                                              action for violations of law (such as statutory or regulatory requirements and court
                                                                           11                 orders related to similar representations and omissions made on the type of
                                                                                              products at issue). Thus, Plaintiff and Class members may be entitled to restitution
                                                                           12                 under the UCL, while not entitled to damages under other causes of action asserted
                                                                                              herein (e.g., the FAL requires actual or constructive knowledge of the falsity; the
                                                                           13                 CLRA is limited to certain types of plaintiffs (an individual who seeks or acquires,
                                                                                              by purchase or lease, any goods or services for personal, family, or household
                                                                           14                 purposes) and other statutorily enumerated conduct). Similarly, unjust
                                                                                              enrichment/restitution is broader than breach of warranty. For example, in some
                                                                           15                 states, breach of warranty may require privity of contract or pre-lawsuit notice,
                                                                                              which are not typically required to establish unjust enrichment/restitution. Thus,
                                                                           16                 Plaintiff and Class members may be entitled to recover under unjust
                                                                                              enrichment/restitution, while not entitled to damages under breach of warranty,
                                                                           17                 because they purchased the products from third-party retailers or did not provide
                                                                                              adequate notice of a breach prior to the commencement of this action.
                                                                           18
                                                                                           c. Injunctive Relief to Cease Misconduct and Dispel Misperception. Injunctive
                                                                           19                 relief is appropriate on behalf of Plaintiff and members of the Class because
                                                                                              Defendant continues to misrepresent the Products with the Challenged
                                                                           20                 Representations. Injunctive relief is necessary to prevent Defendant from
                                                                                              continuing to engage in the unfair, fraudulent, and/or unlawful conduct described
                                                                           21                 herein and to prevent future harm—none of which can be achieved through
                                                                                              available legal remedies (such as monetary damages to compensate past harm).
                                                                           22                 Further, injunctive relief, in the form of affirmative disclosures is necessary to
                                                                                              dispel the public misperception about the Products that has resulted from years of
                                                                           23                 Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such disclosures
                                                                                              would include, but are not limited to, publicly disseminated statements that the
                                                                           24                 Products’ Challenged Representations is not true and providing accurate
                                                                                              information about the Products’ true nature; and/or requiring prominent
                                                                           25                 qualifications and/or disclaimers on the Products’ front label concerning the
                                                                                              Products’ true nature. An injunction requiring affirmative disclosures to dispel
                                                                           26                 the public’s misperception, and prevent the ongoing deception and repeat
                                                                                              purchases based thereon, is also not available through a legal remedy (such as
                                                                           27                 monetary damages). In addition, Plaintiff is currently unable to accurately
                                                                                              quantify the damages caused by Defendant’s future harm, because discovery and
                                                                           28                 Plaintiff’s investigation have not yet completed, rendering injunctive relief all the
                                                                                                                              19
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                                                                                                   more necessary. For example, because the court has not yet certified any class, the
                                                                            1                      following remains unknown: the scope of the class, the identities of its members,
                                                                                                   their respective purchasing practices, prices of past/future Product sales, and
                                                                            2                      quantities of past/future Product sales.
                                                                            3                  d. Public Injunction. Further, because a “public injunction” is available under the
                                                                                                  UCL, damages will not adequately “benefit the general public” in a manner
                                                                            4                     equivalent to an injunction.
                                                                            5                  e. California vs. Nationwide Class Claims. Violation of the UCL, FAL, and CLRA
                                                                                                  are claims asserted on behalf of Plaintiff and the California Subclass against
                                                                            6                     Defendant, while breach of warranty and unjust enrichment/restitution are
                                                                                                  asserted on behalf of Plaintiff and the Nationwide Class. Dismissal of farther-
                                                                            7                     reaching claims, such as restitution, would bar recovery for non-California
                                                                                                  members of the Class. In other words, legal remedies available or adequate under
                                                                            8                     the California-specific causes of action (such as the UCL, FAL, and CLRA) have
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                                                                                                  no impact on this Court’s jurisdiction to award equitable relief under the
                                                                            9                     remaining causes of action asserted on behalf of non-California putative class
                                                                                                  members.
                                                                           10
                                                                                               f. Procedural Posture—Incomplete Discovery & Pre-Certification. Lastly, this
                                                                           11                     is an initial pleading in this action and discovery has not yet commenced and/or is
                                                                                                  at its initial stages. No class has been certified yet. No expert discovery has
                                                                           12                     commenced and/or completed. The completion of fact/non-expert and expert
                                                                                                  discovery, as well as the certification of this case as a class action, are necessary
                                                                           13                     to finalize and determine the adequacy and availability of all remedies, including
                                                                                                  legal and equitable, for Plaintiff’s individual claims and any certified class or
                                                                           14                     subclass. Plaintiff therefore reserves their right to amend this complaint and/or
                                                                                                  assert additional facts that demonstrate this Court’s jurisdiction to order equitable
                                                                           15                     remedies where no adequate legal remedies are available for either Plaintiff and/or
                                                                                                  any certified class or subclass. Such proof, to the extent necessary, will be
                                                                           16                     presented prior to the trial of any equitable claims for relief and/or the entry of an
                                                                                                  order granting equitable relief.
                                                                           17
                                                                                VI.    CLASS ACTION ALLEGATIONS
                                                                           18
                                                                                        31.     Class Definition. Plaintiff brings this action as a class action pursuant to Federal
                                                                           19
                                                                                 Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of herself and all others similarly situated,
                                                                           20
                                                                                 and as members of the Classes defined as follow:
                                                                           21
                                                                                               All residents of the United States who, within the applicable statute of
                                                                           22                  limitations periods, purchased the Products, containing the Challenged
                                                                                               Representations on the Products’ front packaging for purposes other
                                                                           23                  than resale (“Nationwide Class”); and
                                                                           24                  All residents of California who, within four years prior to the filing of
                                                                                               this Complaint, purchased the Products, containing the Challenged
                                                                           25                  Representations on the Products’ front packaging, for purposes other
                                                                                               than resale (“California Subclass”).
                                                                           26
                                                                                 (Nationwide Class and California Subclass, collectively, the “Class”).
                                                                           27

                                                                           28
                                                                                                                                   20
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                                                                            1          32.         Class Definition Exclusions. Excluded from the Class are: (i) Defendant, its

                                                                            2   assigns, successors, and legal representatives; (ii) any entities in which Defendant has controlling

                                                                            3   interests; (iii) federal, state, and/or local governments, including, but not limited to, their

                                                                            4   departments, agencies, divisions, bureaus, boards, sections, groups, counsels, and/or subdivisions;

                                                                            5   (iv) any judicial officer presiding over this matter and person within the third degree of

                                                                            6   consanguinity to such judicial officer.

                                                                            7          33.         Reservation of Rights to Amend the Class Definition. Plaintiff reserves the right

                                                                            8   to amend or otherwise alter the class definitions presented to the Court at the appropriate time in
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                                                                            9   response to facts learned through discovery, legal arguments advanced by Defendant, or otherwise.
                                                                           10          34.         Numerosity: Members of the Class are so numerous that joinder of all members is
                                                                           11   impracticable. Upon information and belief, the Nationwide Class consists of tens of thousands of
                                                                           12   purchasers (if not more) dispersed throughout the United States, and the California Subclass
                                                                           13   likewise consists of thousands of purchasers (if not more) dispersed throughout the State of
                                                                           14   California. Accordingly, it would be impracticable to join all members of the Class before the Court.
                                                                           15          35.         Common Questions Predominate: There are numerous and substantial questions
                                                                           16   of law or fact common to all members of the Class that predominate over any individual issues.
                                                                           17   Included within the common questions of law or fact are:
                                                                           18                 a.        Whether Defendant engaged in unlawful, unfair or deceptive business
                                                                                                        practices by advertising and selling the Products;
                                                                           19
                                                                                              b.        Whether Defendant’s conduct of advertising and selling the Products as plant-
                                                                           20                           based when they contain synthetic ingredients constitutes an unfair method of
                                                                                                        competition, or unfair or deceptive act or practice, in violation of Civil Code
                                                                           21                           section 1750, et seq.;
                                                                           22                 c.        Whether Defendant used deceptive representations in connection with the sale
                                                                                                        of the Products in violation of Civil Code section 1750, et seq.;
                                                                           23
                                                                                              d.        Whether Defendant represented that the Products have characteristics or
                                                                           24                           quantities that they do not have in violation of Civil Code section 1750, et seq.;
                                                                           25                 e.        Whether Defendant advertised the Products with intent not to sell them as
                                                                                                        advertised in violation of Civil Code section 1750, et seq.;
                                                                           26
                                                                                              f.        Whether Defendant’s labeling and advertising of the Products are untrue or
                                                                           27                           misleading in violation of Business and Professions Code section 17500, et
                                                                           28                           seq.;

                                                                                                                                    21
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                                                                                              g.         Whether Defendant knew or by the exercise of reasonable care should have
                                                                            1                            known its labeling and advertising was and is untrue or misleading in violation
                                                                            2                            of Business and Professions Code section 17500, et seq.;

                                                                            3                 h.         Whether Defendant’s conduct is an unfair business practice within the
                                                                                                         meaning of Business and Professions Code section 17200, et seq.;
                                                                            4
                                                                                              i.         Whether Defendant’s conduct is a fraudulent business practice within the
                                                                            5
                                                                                                         meaning of Business and Professions Code section 17200, et seq.;
                                                                            6
                                                                                              j.         Whether Defendant’s conduct is an unlawful business practice within the
                                                                            7                            meaning of Business and Professions Code section 17200, et seq.;

                                                                            8                 k.         Whether Plaintiff and the Class paid more money for the Products than they
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                                                                                                         actually received;
                                                                            9

                                                                           10                 l.         How much more money Plaintiff and the Class paid for the Products than they
                                                                                                         actually received;
                                                                           11
                                                                                              m.         Whether Defendant’s conduct constitutes breach of warranty;
                                                                           12
                                                                                              n.         Whether Plaintiff and the Class are entitled to injunctive relief; and
                                                                           13

                                                                           14                 o.         Whether Defendant was unjustly enriched by their unlawful conduct.

                                                                           15
                                                                                       36.         Typicality: Plaintiff’s claims are typical of the claims of the Class Members they
                                                                           16
                                                                                seek to represent because Plaintiff, like the Class Members, purchased Defendant’s misleading and
                                                                           17
                                                                                deceptive Products. Defendant’s unlawful, unfair and/or fraudulent actions concern the same
                                                                           18
                                                                                business practices described herein irrespective of where they occurred or were experienced.
                                                                           19
                                                                                Plaintiff and the Class sustained similar injuries arising out of Defendant’s conduct. Plaintiff’s and
                                                                           20
                                                                                Class Members’ claims arise from the same practices and course of conduct and are based on the
                                                                           21
                                                                                same legal theories.
                                                                           22
                                                                                       37.         Adequacy: Plaintiff is an adequate representative of the Class she seeks to represent
                                                                           23
                                                                                because her interests do not conflict with the interests of the Class Members Plaintiff seeks to
                                                                           24
                                                                                represent. Plaintiff will fairly and adequately protect Class Members’ interests and have retained
                                                                           25
                                                                                counsel experienced and competent in the prosecution of complex class actions, including complex
                                                                           26
                                                                                questions that arise in consumer protection litigation.
                                                                           27

                                                                           28
                                                                                                                                     22
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                                                                            1           38.     Superiority and Substantial Benefit: A class action is superior to other methods

                                                                            2   for the fair and efficient adjudication of this controversy, since individual joinder of all members of

                                                                            3   the Class is impracticable and no other group method of adjudication of all claims asserted herein

                                                                            4   is more efficient and manageable for at least the following reasons:

                                                                            5                  a.     The claims presented in this case predominate over any questions of law or
                                                                            6                         fact, if any exist at all, affecting any individual member of the Class;

                                                                            7                  b.     Absent a Class, the members of the Class will continue to suffer damage and
                                                                                                      Defendant’s unlawful conduct will continue without remedy while Defendant
                                                                            8                         profits from and enjoys its ill-gotten gains;
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                                                                            9
                                                                                              c.      Given the size of individual Class Members’ claims, few, if any, Class
                                                                           10                         Members could afford to or would seek legal redress individually for the
                                                                                                      wrongs Defendant committed against them, and absent Class Members have
                                                                           11                         no substantial interest in individually controlling the prosecution of individual
                                                                                                      actions;
                                                                           12
                                                                                              d.      When the liability of Defendant has been adjudicated, claims of all members
                                                                           13
                                                                                                      of the Class can be administered efficiently and/or determined uniformly by
                                                                           14                         the Court; and

                                                                           15                 e.      This action presents no difficulty that would impede its management by the
                                                                                                      Court as a class action, which is the best available means by which Plaintiff
                                                                           16                         and Class Members can seek redress for the harm caused to them by
                                                                                                      Defendant.
                                                                           17

                                                                           18           39.     Inconsistent Rulings. Because Plaintiff seeks relief for all members of the Class,
                                                                           19   the prosecution of separate actions by individual members would create a risk of inconsistent or
                                                                           20   varying adjudications with respect to individual members of the Class, which would establish
                                                                           21   incompatible standards of conduct for Defendant.
                                                                           22           40.     Injunctive/Equitable Relief. The prerequisites to maintaining a class action for
                                                                           23   injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as Defendant has acted or
                                                                           24   refused to act on grounds generally applicable to the Class, thereby making appropriate final
                                                                           25   injunctive or equitable relief with respect to the Class as a whole.
                                                                           26           41.     Manageability. Plaintiff and Plaintiff’s counsel are unaware of any difficulties that
                                                                           27   are likely to be encountered in the management of this action that would preclude its maintenance
                                                                           28   as a class action.
                                                                                                                                  23
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                                                                            1                                          CAUSES OF ACTION

                                                                            2                                               COUNT ONE

                                                                            3                            Violation of California Unfair Competition Law

                                                                            4                                (Cal. Bus. & Prof. Code §§ 17200, et seq.)

                                                                            5                                 (On Behalf of the California Subclass)

                                                                            6          42.      Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                            7   allegations contained in this complaint, as though fully set forth herein.

                                                                            8          43.      California Subclass. This cause of action is brought pursuant to Business and
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                                                                            9   Professions Code Section 17200, et seq., on behalf of Plaintiff and a California Subclass who
                                                                           10   purchased the Products within the applicable statute of limitations.
                                                                           11          44.      The UCL. California Business & Professions Code, sections 17200, et seq. (the
                                                                           12   “UCL”) prohibits unfair competition and provides, in pertinent part, that “unfair competition shall
                                                                           13   mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or
                                                                           14   misleading advertising.”
                                                                           15          45.      False Advertising Claims. Defendant, in its advertising and packaging of the

                                                                           16   Products, made false and misleading statements and fraudulent omissions regarding the quality and

                                                                           17   characteristics of the Products—specifically, the Plant-Based and Natural Care Representations—

                                                                           18   despite the fact the Products contain numerous ingredients that are not natural and do not come from

                                                                           19   plants, as well as ingredients that have gone through chemical processing and modification. Such

                                                                           20   claims and omissions appear on the labeling and packaging of the Products, which are sold

                                                                           21   at retail stores, point-of-purchase displays, and online.

                                                                           22          46.      Defendant’s Deliberately False and Fraudulent Marketing Scheme. Defendant

                                                                           23   does not have any reasonable basis for the claims about the Products made in Defendant’s

                                                                           24   advertising and on Defendant’s packaging or labeling because the Products contain artificial,

                                                                           25   synthetic, and highly processed ingredients. Defendant knew and knows that the Products contain

                                                                           26   ingredients other than natural and plant-based ingredients, though Defendant intentionally

                                                                           27   advertised and marketed the Products to deceive reasonable consumers into believing that Products

                                                                           28   contain only natural and plant-based ingredients.
                                                                                                                                  24
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                                                                            1           47.     False Advertising Claims Cause Purchase of Products. Defendant’s labeling and

                                                                            2   advertising of the Products led to, and continues to lead to, reasonable consumers, including

                                                                            3   Plaintiff, believing that the Products only contain natural and ingredients that come from plants and

                                                                            4   water, and that were not subjected to chemical modification or processing.

                                                                            5           48.     Injury in Fact. Plaintiff and the California Subclass have suffered injury in fact and

                                                                            6   have lost money or property as a result of and in reliance upon Defendant’s Challenged

                                                                            7   Representations—namely Plaintiff and the California Subclass lost the purchase price for the

                                                                            8   Products they bought from the Defendant.
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                                                                            9           49.     Conduct Violates the UCL. Defendant’s conduct, as alleged herein, constitutes

                                                                           10   unfair, unlawful, and fraudulent business practices pursuant to the UCL. The UCL prohibits unfair

                                                                           11   competition and provides, in pertinent part, that “unfair competition shall mean and include

                                                                           12   unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or misleading

                                                                           13   advertising.” Cal. Bus. & Prof. Code § 17200. In addition, Defendant’s use of various forms of

                                                                           14   advertising media to advertise, call attention to, or give publicity to the sale of goods or merchandise

                                                                           15   that are not as represented in any manner constitutes unfair competition, unfair, deceptive, untrue

                                                                           16   or misleading advertising, and an unlawful business practice within the meaning of Business and

                                                                           17   Professions Code sections 17200 and 17531, which advertisements have deceived and are likely to

                                                                           18   deceive the consuming public, in violation of Business and Professions Code Section 17200.

                                                                           19           50.     No Reasonably Available Alternatives/Legitimate Business Interests. Defendant

                                                                           20   failed to avail itself of reasonably available, lawful alternatives to further its legitimate business

                                                                           21   interests.

                                                                           22           51.     Business Practice. All of the conduct alleged herein occurred and continues to occur

                                                                           23   in Defendant’s business. Defendant’s wrongful conduct is part of a pattern, practice and/or

                                                                           24   generalized course of conduct, which will continue on a daily basis until Defendant voluntarily

                                                                           25   alters its conduct or is otherwise ordered to do so.

                                                                           26           52.     Injunction. Pursuant to Business and Professions Code sections 17203 and 17535,

                                                                           27   Plaintiff and the members of the California Subclass seek an order of this Court enjoining Defendant

                                                                           28   from continuing to engage, use, or employ its practices of labeling and advertising the sale and use
                                                                                                                                  25
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                                                                            1   of the Products. Likewise, Plaintiff and the members of the California Subclass seek an order

                                                                            2   requiring Defendant to disclose such misrepresentations, and to preclude Defendant’s failure to

                                                                            3   disclose the existence and significance of said misrepresentations.

                                                                            4          53.     Causation/Damages. As a direct and proximate result of Defendant’s misconduct

                                                                            5   in violation of the UCL, Plaintiff and members of the California Subclass were harmed in the

                                                                            6   amount of the purchase price they paid for the Products. Further, Plaintiff and members of the

                                                                            7   California Subclass have suffered and continue to suffer economic losses and other damages

                                                                            8   including, but not limited to, the amounts paid for the Products, and any interest that would have
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                                                                            9   accrued on those monies, in an amount to be proven at trial. Accordingly, Plaintiff seeks a monetary
                                                                           10   award for violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains to
                                                                           11   compensate Plaintiff and the California Subclass for said monies, as well as injunctive relief to
                                                                           12   enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                           13          54.     Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action
                                                                           14   for violation of the UCL on behalf of Plaintiff and the California Subclass. Defendant’s unfair,
                                                                           15   fraudulent, and unlawful conduct described herein constitutes malicious, oppressive, and/or
                                                                           16   fraudulent conduct warranting an award of punitive damages as permitted by law. Defendant’s
                                                                           17   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and consumers to pay
                                                                           18   for Products that they were not, in fact, receiving. Defendant willfully and knowingly disregarded

                                                                           19   the rights of Plaintiff and consumers as Defendant was, at all times, aware of the probable dangerous

                                                                           20   consequences of their conduct and deliberately failed to avoid misleading consumers, including

                                                                           21   Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times, said conduct was so vile,

                                                                           22   base, and/or contemptible that reasonable people would look down upon it and/or otherwise would

                                                                           23   despise such corporate misconduct. Said misconduct subjected Plaintiff and consumers to cruel and

                                                                           24   unjust hardship in knowing disregard of their rights. Defendant’s misconduct is fraudulent as

                                                                           25   Defendant intentionally misrepresented and/or concealed material facts with the intent to deceive

                                                                           26   Plaintiff and consumers. The wrongful conduct constituting malice, oppression, and/or fraud was

                                                                           27   committed, authorized, adopted, approved, and/or ratified by officers, directors, and/or managing

                                                                           28   agents of the Defendant.
                                                                                                                                 26
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                                                                            1                                           A. “Unfair” Prong

                                                                            2           55.    Unfair Standard. Under the UCL, a challenged activity is “unfair” when “any

                                                                            3   injury it causes outweighs any benefits provided to consumers and the injury is one that the

                                                                            4   consumers themselves could not reasonably avoid.” Camacho v. Auto Club of Southern California,

                                                                            5   142 Cal.App.4th 1394, 1403 (2006).

                                                                            6           56.    Injury. Defendant’s action of mislabeling the Products with the Challenged

                                                                            7   Representations does not confer any benefit to consumers; rather, doing so causes injuries to

                                                                            8   consumers, who do not receive products commensurate with their reasonable expectations, overpay
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                                                                            9   for the Products, and receive Products of lesser standards than what they reasonably expected to

                                                                           10   receive. Consumers cannot avoid any of the injuries caused by Defendant’s deceptive labeling

                                                                           11   and/or advertising of the Products. Accordingly, the injuries caused by Defendant’s deceptive

                                                                           12   labeling and advertising outweigh any benefits.

                                                                           13           57.    Balancing Test. Some courts conduct a balancing test to decide if a challenged

                                                                           14   activity amounts to unfair conduct under California Business and Professions Code Section 17200.

                                                                           15   They “weigh the utility of the defendant’s conduct against the gravity of the harm to the alleged

                                                                           16   victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).

                                                                           17           58.    No Utility. Here, Defendant’s conduct of labeling the Products with the Plant-Based

                                                                           18   and Natural Care Representations when the Products contain ingredients that are not natural, that

                                                                           19   do not come from plants, and contain ingredients chemically modified has no utility and financially

                                                                           20   harms purchasers. Thus, the utility of Defendant’s conduct is vastly outweighed by the gravity of

                                                                           21   harm.

                                                                           22           59.    Legislative Declared Policy. Some courts require that “unfairness must be tethered

                                                                           23   to some legislative declared policy or proof of some actual or threatened impact on competition.”

                                                                           24   Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

                                                                           25           60.    Unfair Conduct. Defendant’s labeling and advertising of the Products, as alleged

                                                                           26   herein, is false, deceptive, misleading, and unreasonable, and constitutes unfair conduct. Defendant

                                                                           27   knew or should have known of its unfair conduct. Defendant’s misrepresentations constitute an

                                                                           28   unfair business practice within the meaning of California Business and Professions Code Section
                                                                                                                                  27
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                                                                            1   17200.

                                                                            2            61.   Reasonably Available Alternatives. There existed reasonably available

                                                                            3   alternatives to further Defendant’s legitimate business interests, other than the conduct described

                                                                            4   herein. Defendant could have refrained from labeling the Products with the Plant-Based and Natural

                                                                            5   Care Representations.

                                                                            6            62.   Defendant’s Wrongful Conduct. All of the conduct alleged herein occurs and

                                                                            7   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or

                                                                            8   generalized course of conduct repeated on thousands of occasions daily.
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                                                                            9            63.   Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiff
                                                                           10   and the California Subclass seek an order of this Court enjoining Defendant from continuing to
                                                                           11   engage, use, or employ its practices of labeling the Products with the Plant-Based Representations.
                                                                           12            64.   Causation/Damages. Plaintiff and the California Subclass have suffered injury in

                                                                           13   fact and have lost money as a result of Defendant’s unfair conduct. Plaintiff and the California

                                                                           14   Subclass paid an unwarranted premium for the Products. Specifically, Plaintiff and the California

                                                                           15   Subclass paid for Products that contained ingredients that are non-natural, synthetic, and/or highly

                                                                           16   processed. Plaintiff and the California Subclass would not have purchased the Products, or would

                                                                           17   have paid substantially less for the Products, if they had known that the Products’ advertising and

                                                                           18   labeling were deceptive. Accordingly, Plaintiff seeks damages, restitution, and/or disgorgement of

                                                                           19   ill-gotten gains pursuant to the UCL.

                                                                           20                                           B. “Fraudulent” Prong

                                                                           21            65.   Fraud Standard. The UCL considers conduct fraudulent (and prohibits said

                                                                           22   conduct) if it is likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal.

                                                                           23   4th 1254, 1267 (1992).

                                                                           24            66.   Fraudulent & Material Challenged Representations. Defendant used the Plant-

                                                                           25   Based and Natural Care Representations with the intent to sell the Products to consumers, including

                                                                           26   Plaintiff and the California Subclass. The Challenged Representations are false, and Defendant

                                                                           27   knew or should have known of its falsity. The Challenged Representations are likely to deceive

                                                                           28   consumers into purchasing the Products because they are material to the average, ordinary, and
                                                                                                                                 28
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                                                                            1   reasonable consumer.

                                                                            2          67.     Fraudulent Business Practice. As alleged herein, the misrepresentations by

                                                                            3   Defendant constitute a fraudulent business practice in violation of California Business &

                                                                            4   Professions Code section 17200.

                                                                            5          68.     Reasonable and Detrimental Reliance. Plaintiff and the California Subclass

                                                                            6   reasonably and detrimentally relied on the material and false Challenged Representations to their

                                                                            7   detriment in that they purchased the Products.

                                                                            8          69.     Reasonably Available Alternatives. Defendant had reasonably available
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                                                                            9   alternatives to further its legitimate business interests, other than the conduct described herein.
                                                                           10   Defendant could have refrained from labeling the Products with the Plant-Based and Natural Care
                                                                           11   Representations.
                                                                           12          70.     Business Practice. All of the conduct alleged herein occurs and continues to occur
                                                                           13   in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of
                                                                           14   conduct.
                                                                           15          71.     Injunction. Pursuant to Business and Professions Code section 17203, Plaintiff and
                                                                           16   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,
                                                                           17   use, or employ its practice of labeling the Products with the Plant-Based Representations.
                                                                           18          72.     Causation/Damages. Plaintiff and the California Subclass have suffered injury in

                                                                           19   fact and have lost money as a result of Defendant’s fraudulent conduct. Plaintiff paid an unwarranted

                                                                           20   premium for the Products. Specifically, Plaintiff and the California Subclass paid for products that

                                                                           21   they believed only contained natural ingredients, ingredients that come from plants, and ingredients

                                                                           22   that were not subjected to chemical modification or processing, which materially altered the

                                                                           23   ingredients’ original plant-based composition. Plaintiff and the California Subclass would not have

                                                                           24   purchased the Products if they had known the truth. Accordingly, Plaintiff seeks damages,

                                                                           25   restitution, and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                           26                                          C. “Unlawful” Prong

                                                                           27          73.     Unlawful Standard. The UCL identifies violations of other laws as “unlawful

                                                                           28   practices that the unfair competition law makes independently actionable.” Velazquez v. GMAC
                                                                                                                                 29
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                                                                            1   Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).

                                                                            2          74.     Violations of CLRA and FAL. Defendant’s labeling of the Products, as alleged

                                                                            3   herein, violates California Civil Code sections 1750, et seq. (the “CLRA”) and California Business

                                                                            4   and Professions Code sections 17500, et seq. (the “FAL”) as set forth below in the sections

                                                                            5   regarding those causes of action.

                                                                            6          75.     Additional Violations. Defendant’s conduct in making the false representations

                                                                            7   described herein constitutes a knowing failure to adopt policies in accordance with and/or adherence

                                                                            8   to applicable laws, as set forth herein, all of which are binding upon and burdensome to their
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                                                                            9   competitors. This conduct engenders an unfair competitive advantage for Defendant, thereby
                                                                           10   constituting an unfair, fraudulent and/or unlawful business practice under California Business &
                                                                           11   Professions Code sections 17200-17208. Additionally, Defendant’s misrepresentations of material
                                                                           12   facts, as set forth herein, violate California Civil Code sections 1572, 1573, 1709, 1710, 1711, and
                                                                           13   1770, as well as the common law.
                                                                           14          76.     Unlawful Conduct. Defendant’s marketing, packaging, labeling, and advertising of
                                                                           15   the Products, as alleged herein, is false, deceptive, misleading, and unreasonable, and constitutes
                                                                           16   unlawful conduct. Defendant knew or should have known of its unlawful conduct.
                                                                           17          77.     Reasonably Available Alternatives. Defendant had reasonable available
                                                                           18   alternatives to further its legitimate business interests, other than the conduct described herein.

                                                                           19   Defendant could have refrained from labeling the Products with the Plant-Based and Natural Care

                                                                           20   Representations and/or omitting that the Products contained ingredients that are not natural, plant

                                                                           21   based, chemically modified, and/or highly processed.

                                                                           22          78.     Business Practice. All of the conduct alleged herein occurs and continues to occur

                                                                           23   in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

                                                                           24   conduct.

                                                                           25          79.     Injunction. Pursuant to Business and Professions Code section 17203, Plaintiff and

                                                                           26   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

                                                                           27   use, or employ its practice of false and deceptive labeling and advertising of the Products.

                                                                           28          80.     Causation/Damages. Plaintiff and the California Subclass have suffered injury in
                                                                                                                                 30
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                                                                            1   fact and have lost money as a result of Defendant’s unlawful conduct. Plaintiff and the California

                                                                            2   Subclass paid an unwarranted premium for the Products. Plaintiff and the California Subclass would

                                                                            3   not have purchased the Products if they had known that Defendant purposely deceived consumers

                                                                            4   into believing that the Products are truly natural, plant-based wipes. Accordingly, Plaintiff seeks

                                                                            5   damages, restitution, and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                            6                                             COUNT TWO

                                                                            7                                Violation of the False Advertising Law

                                                                            8                               (Cal. Bus. & Prof. Code §§ 17500, et seq.)
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                                                                            9                                 (On Behalf of the California Subclass)
                                                                           10          81.     Incorporation by reference. Plaintiff re-alleges and incorporates by reference all
                                                                           11   allegations contained in the complaint, as though fully set forth herein.
                                                                           12          82.     California Subclass. Plaintiff brings this claim individually and on behalf of the
                                                                           13   California Subclass who purchased the Products within the applicable statute of limitations.
                                                                           14          83.     FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof. Code
                                                                           15   section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading advertising[.]”
                                                                           16          84.     False & Material Challenged Representations Disseminated to Public.
                                                                           17   Defendant violated section 17500 when it advertised and marketed the Products through the unfair,
                                                                           18   deceptive, untrue, and misleading Plant-Based and Natural Care Representations disseminated to

                                                                           19   the public through the Products’ labeling, packaging, and advertising. These representations were

                                                                           20   false because the Products do not conform to them. The representations were material because they

                                                                           21   are likely to mislead a reasonable consumer into purchasing the Products.

                                                                           22          85.     Knowledge. In making and disseminating the Challenged Representations alleged

                                                                           23   herein, Defendant knew or should have known that the representations were untrue or misleading,

                                                                           24   and acted in violation of § 17500.

                                                                           25          86.     Intent to sell. Defendant designed the Challenged Representations specifically to

                                                                           26   induce reasonable consumers, like Plaintiff and the California Subclass, to purchase the Products.

                                                                           27          87.     Causation/Damages. As a direct and proximate result of Defendant’s misconduct

                                                                           28   in violation of the FAL, Plaintiff and members of the California Subclass were harmed in the amount
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                                                                            1   of the purchase price they paid for the Products. Further, Plaintiff and members of the Class have

                                                                            2   suffered and continue to suffer economic losses and other damages including, but not limited to, the

                                                                            3   amounts paid for the Products, and any interest that would have accrued on those monies, in an

                                                                            4   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of the FAL

                                                                            5   in damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the

                                                                            6   California Subclass for said monies, as well as injunctive relief to enjoin Defendant’s misconduct

                                                                            7   to prevent ongoing and future harm that will result.

                                                                            8          88.     Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct described
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                                                                            9   herein constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of punitive
                                                                           10   damages as permitted by law. Defendant’s misconduct is malicious as Defendant acted with the
                                                                           11   intent to cause Plaintiff and consumers to pay for Products that they were not, in fact, receiving.
                                                                           12   Defendant willfully and knowingly disregarded the rights of Plaintiff and consumers as Defendant
                                                                           13   was aware of the probable dangerous consequences of its conduct and deliberately failed to avoid
                                                                           14   misleading consumers, including Plaintiff. Defendant’s misconduct is oppressive as, at all relevant
                                                                           15   times, said conduct was so vile, base, and/or contemptible that reasonable people would look down
                                                                           16   upon it and/or otherwise would despise such corporate misconduct. Said misconduct subjected
                                                                           17   Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                                           18   Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally

                                                                           19   misrepresented and/or concealed material facts with the intent to deceive Plaintiff and consumers.

                                                                           20   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,

                                                                           21   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.

                                                                           22                                            COUNT THREE

                                                                           23                     Violation of the Consumers Legal Remedies Act (“CLRA”)

                                                                           24                                (California Civil Code §§ 1750, et seq.)

                                                                           25                                 (On Behalf of the California Subclass)

                                                                           26          89.     Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           27   allegations contained in the complaint, as though fully set forth herein.

                                                                           28          90.     California Subclass. Plaintiff brings this claim individually and on behalf of the
                                                                                                                                  32
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                                                                            1   California Subclass who purchased the Products within the applicable statute of limitations.

                                                                            2           91.     CLRA Standard. The CLRA provides that “unfair methods of competition and

                                                                            3   unfair or deceptive acts or practices undertaken by any person in a transaction intended to result or

                                                                            4   which results in the sale or lease of goods or services to any consumer are unlawful.”

                                                                            5           92.     Goods/Services. The Products are “goods,” as defined by the CLRA in California

                                                                            6   Civil Code §1761(a).

                                                                            7           93.     Defendant. Defendant is a “person,” as defined by the CLRA in California Civil

                                                                            8   Code §1761(c).
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                                                                            9           94.     Consumers. Plaintiff and members of the California Subclass are “consumers,” as
                                                                           10   defined by the CLRA in California Civil Code §1761(d).
                                                                           11           95.     Transactions. Purchase of the Products by Plaintiff and members of the California
                                                                           12   Subclass are “transactions” as defined by the CLRA under California Civil Code § 1761(e).
                                                                           13           96.     Violations of the CLRA. Defendant violated the following sections of the CLRA
                                                                           14   by selling the Products to Plaintiff and the California Subclass through the false, misleading,
                                                                           15   deceptive, and fraudulent Challenged Representations:
                                                                           16                 a.       Section 1770(a)(5) by representing that the Products have “characteristics, . .
                                                                           17                          . uses [or] benefits . . . which [they] do not have.”
                                                                           18                 b.       Section 1770(a)(7) by representing that the Products “are of a particular

                                                                           19                          standard, quality, or grade . . . [when] they are of another.”

                                                                           20                 c.       Section 1770(a)(9) by advertising the Products “with [the] intent not to sell

                                                                           21                          them as advertised.”

                                                                           22           97.     Knowledge. Defendant’s uniform and material representations and omissions

                                                                           23   regarding the Products were likely to deceive, and Defendant knew or should have known that its

                                                                           24   representations and omissions were untrue and misleading.

                                                                           25           98.     Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in that

                                                                           26   Defendant intentionally misled and withheld material information from consumers, including

                                                                           27   Plaintiff, to increase the sale of the Products.

                                                                           28           99.     Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the California
                                                                                                                                   33
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                                                                            1   Subclass could not have reasonably avoided such injury. Plaintiff and members of the California

                                                                            2   Subclass were unaware of the existence of the facts that Defendant suppressed and failed to disclose,

                                                                            3   and Plaintiff and members of the California Subclass would not have purchased the Products and/or

                                                                            4   would have purchased them on different terms had they known the truth.

                                                                            5          100.    Causation/Reliance/Materiality. Plaintiff and the California Subclass suffered

                                                                            6   harm as a result of Defendant’s violations of the CLRA because they relied on the Challenged

                                                                            7   Representations in deciding to purchase the Products. The Challenged Representations were a

                                                                            8   substantial factor. The Challenged Representations were material because a reasonable consumer
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                                                                            9   would consider it important in deciding whether to purchase the Products.
                                                                           10          101.    Section 1782(d)—Prelitigation Demand/Notice. Pursuant to California Civil Code
                                                                           11   section 1782, more than thirty days prior to the filing of the First Amended Complaint, on November
                                                                           12   10, 2022, Plaintiff’s counsel, acting on behalf of Plaintiff and members of the Class, mailed a
                                                                           13   Demand Letter and enclosed a draft of the originally filed complaint, via U.S. certified mail, return
                                                                           14   receipt requested, addressed to Defendant Kimberly-Clark Corp. at its headquarters and principal
                                                                           15   place of business (Kimberly-Clark Corp., 351 Phelps Dr., Irving, TX 75038), which was delivered
                                                                           16   on November 16, 2022, and its registered agent for service of process (330 N. Brand Blvd.,
                                                                           17   Glendale, CA 91203), which was delivered on November 15, 2022. See Exhibit 3 (Demand Letter,
                                                                           18   Proof of Delivery).

                                                                           19          102.    Causation/Damages. As a direct and proximate result of Defendant’s misconduct

                                                                           20   in violation of the CLRA, Plaintiff and members of the California Subclass were harmed in the

                                                                           21   amount of the purchase price they paid for the Products. Further, Plaintiff and members of the Class

                                                                           22   have suffered and continue to suffer economic losses and other damages including, but not limited

                                                                           23   to, the amounts paid for the Products, punitive damages, and any interest that would have accrued

                                                                           24   on those monies, in an amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award

                                                                           25   for violation of this Act in the form of damages, disgorgement, or ill-gotten gains to compensate

                                                                           26   Plaintiff and the California Subclass for said monies.

                                                                           27          103.    Injunction. Given that Defendant’s conduct violated California Civil Code section

                                                                           28   1780, Plaintiff and members of the California Subclass are entitled to seek, and do hereby seek,
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                                                                            1   injunctive relief to put an end to Defendant’s violations of the CLRA and to dispel the public

                                                                            2   misperception generated, facilitated, and fostered by Defendant’s false advertising campaign.

                                                                            3   Plaintiff has no adequate remedy at law. Without equitable relief, Defendant’s unfair and deceptive

                                                                            4   practices will continue to harm Plaintiff and the California Subclass. Accordingly, Plaintiff seeks

                                                                            5   an injunction to enjoin Defendant from continuing to employ the unlawful methods, acts, and

                                                                            6   practices alleged herein pursuant to section 1780(a)(2), and otherwise require Defendant to take

                                                                            7   corrective action necessary to dispel the public misperception engendered, fostered, and facilitated

                                                                            8   through Defendant’s deceptive labeling of the Products’ with the Challenged Representations.
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                                                                            9                                             COUNT FOUR

                                                                           10                                          Breach of Warranty

                                                                           11                     (On Behalf of the Nationwide Class and California Subclass)

                                                                           12          104.    Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           13   allegations contained in the complaint, as though fully set forth herein.

                                                                           14          105.    Nationwide Class & California Subclass. Plaintiff brings this claim individually

                                                                           15   and on behalf of the Nationwide Class and California Subclass (the Class) who purchased the

                                                                           16   Products within the applicable statute of limitations.

                                                                           17          106.    Express Warranty. By advertising and selling the Products at issue, Defendant

                                                                           18   made promises and affirmations of fact on the Products’ packaging and labeling, and through its

                                                                           19   marketing and advertising, as described herein. This labeling and advertising constitute express

                                                                           20   warranties and became part of the basis of the bargain between Plaintiff and members of the Class

                                                                           21   and Defendant. Defendant purports, through the Products’ labeling and advertising, to create express

                                                                           22   warranties that the Products, among other things, conform to the Challenged Representations.

                                                                           23          107.    Implied Warranty of Merchantability. By advertising and selling the Products at

                                                                           24   issue, Defendant, a merchant of goods, made promises and affirmations of fact that the Products are

                                                                           25   merchantable and conform to the promises or affirmations of fact made on the Products’ packaging

                                                                           26   and labeling, and through its marketing and advertising, as described herein. This labeling and

                                                                           27   advertising, combined with the implied warranty of merchantability, constitute warranties that

                                                                           28   became part of the basis of the bargain between Plaintiff and members of the Class and Defendant—
                                                                                                                                  35
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                                                                            1   to wit, that the Products, among other things, conform to the Challenged Representations.

                                                                            2          108.     Breach of Warranty. Contrary to Defendant’s express warranties, the Products do

                                                                            3   not conform to the Challenged Representations and, therefore, Defendant breached its warranties

                                                                            4   about the Products and their qualities.

                                                                            5          109.     Causation/Remedies. As a direct and proximate result of Defendant’s breach of

                                                                            6   express warranty, Plaintiff and members of the Class were harmed in the amount of the purchase

                                                                            7   price they paid for the Products. Further, Plaintiff and members of the Class have suffered and

                                                                            8   continue to suffer economic losses and other damages including, but not limited to, the amounts
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                                                                            9   paid for the Products, and any interest that would have accrued on those monies, in an amount to be
                                                                           10   proven at trial. Accordingly, Plaintiff seeks a monetary award for breach of warranty in the form
                                                                           11   of damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the Class
                                                                           12   for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing
                                                                           13   and future harm that will result.
                                                                           14          110.     Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action
                                                                           15   for breach of warranty on behalf of Plaintiff and the Class. Defendant’s unfair, fraudulent, and
                                                                           16   unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                           17   warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious
                                                                           18   as Defendant acted with the intent to cause Plaintiff and consumers to pay for Products that they

                                                                           19   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff

                                                                           20   and consumers as Defendant was aware of the probable dangerous consequences of its conduct and

                                                                           21   deliberately failed to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is

                                                                           22   oppressive as, at all relevant times, said conduct was so vile, base, and/or contemptible that

                                                                           23   reasonable people would look down upon it and/or otherwise would despise such misconduct. Said

                                                                           24   misconduct subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard of

                                                                           25   their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally

                                                                           26   misrepresented and/or concealed material facts with the intent to deceive Plaintiff and consumers.

                                                                           27   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,

                                                                           28   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.
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                                                                            1                                              COUNT FIVE

                                                                            2                                     Unjust Enrichment/Restitution

                                                                            3                     (On Behalf of the Nationwide Class and California Subclass)

                                                                            4           111.   Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                            5   allegations contained in the complaint, as though fully set forth herein.

                                                                            6           112.   Nationwide Class & California Subclass. Plaintiff brings this claim individually

                                                                            7   and on behalf of the Nationwide Class and California Subclass (the Class) who purchased the

                                                                            8   Products within the applicable statute of limitations.
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                                                                            9           113.   Plaintiff/Class Conferred a Benefit. By purchasing the Products, Plaintiff and
                                                                           10   members of the Class conferred a benefit on Defendant in the form of the purchase price of the
                                                                           11   Products.
                                                                           12           114.   Defendant’s Knowledge of Conferred Benefit. Defendant had knowledge of such
                                                                           13   benefit and Defendant appreciated the benefit because, were consumers not to purchase the
                                                                           14   Products, Defendant would not generate revenue from the sales of the Products.
                                                                           15           115.   Defendant’s Unjust Receipt Through Deception. Defendant’s knowing
                                                                           16   acceptance and retention of the benefit is inequitable and unjust because the benefit was obtained
                                                                           17   by Defendant’s fraudulent, misleading, and deceptive representations and omissions.
                                                                           18           116.   Causation/Damages. As a direct and proximate result of Defendant’s unjust

                                                                           19   enrichment, Plaintiff and members of the Class were harmed in the amount of the purchase price

                                                                           20   they paid for the Products. Further, Plaintiff and members of the Class have suffered and continue

                                                                           21   to suffer economic losses and other damages including, but not limited to, the amounts paid for the

                                                                           22   Products, and any interest that would have accrued on those monies, in an amount to be proven at

                                                                           23   trial. Accordingly, Plaintiff seeks a monetary award for unjust enrichment in damages, restitution,

                                                                           24   and/or disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies, as

                                                                           25   well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm that

                                                                           26   will result.

                                                                           27           117.   Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action

                                                                           28   for unjust enrichment on behalf of Plaintiff and the Class. Defendant’s unfair, fraudulent, and
                                                                                                                                  37
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                                                                            1   unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct

                                                                            2   warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious

                                                                            3   as Defendant acted with the intent to cause Plaintiff and consumers to pay for Products that they

                                                                            4   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff

                                                                            5   and consumers as Defendant was aware of the probable dangerous consequences of their conduct

                                                                            6   and deliberately failed to avoid misleading consumers, including Plaintiff. Defendant’s misconduct

                                                                            7   is oppressive as, at all relevant times, said conduct was so vile, base, and/or contemptible that

                                                                            8   reasonable people would look down upon it and/or otherwise would despise such corporate
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                                                                            9   misconduct. Said misconduct subjected Plaintiff and consumers to cruel and unjust hardship in
                                                                           10   knowing disregard of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                           11   times, intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                           12   Plaintiff and consumers. The wrongful conduct constituting malice, oppression, and/or fraud was
                                                                           13   committed, authorized, adopted, approved, and/or ratified by officers, directors, and/or managing
                                                                           14   agents of Defendant.

                                                                           15                                         PRAYER FOR RELIEF

                                                                           16          118.    WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

                                                                           17   prays for judgment against Defendant as follows:

                                                                           18                 a.       Certification: For an order certifying this action as a class action, appointing
                                                                           19                          Plaintiff as the Class Representatives, and appointing Plaintiff’s Counsel as
                                                                                                       Class Counsel;
                                                                           20
                                                                                              b.       Declaratory Relief: For an order declaring that Defendant’s conduct violates
                                                                           21                          the statutes and laws referenced herein;
                                                                           22
                                                                                              c.       Injunction: For an order requiring Defendant to immediately cease and desist
                                                                           23                          from selling the unlawful Products in violation of law; enjoining Defendant
                                                                                                       from continuing to market, advertise, distribute, and sell the Products in the
                                                                           24                          unlawful manner described herein; requiring Defendant to engage in an
                                                                                                       affirmative advertising campaign to dispel the public misperception of the
                                                                           25                          Products resulting from Defendant’s unlawful conduct; and requiring all
                                                                                                       further and just corrective action, consistent with permissible law and pursuant
                                                                           26
                                                                                                       to only those causes of action so permitted;
                                                                           27
                                                                                              d.       Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                           28                          compensation in the form of damages, restitution, and/or disgorgement to
                                                                                                                                  38
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                                                                                                   Plaintiff and the Class, consistent with permissible law and pursuant to only
                                                                            1                      those causes of action so permitted;
                                                                            2
                                                                                            e.     Punitive Damages/Penalties: For an order awarding punitive damages,
                                                                            3                      statutory penalties, and/or monetary fines, consistent with permissible law and
                                                                                                   pursuant to only those causes of action so permitted;
                                                                            4
                                                                                            f.     Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and costs,
                                                                            5
                                                                                                   consistent with permissible law and pursuant to only those causes of action so
                                                                            6                      permitted;

                                                                            7               g.     Pre/Post Judgment Interest: For an order awarding pre-judgment and post-
                                                                                                   judgment interest, consistent with permissible law and pursuant to only those
                                                                            8                      causes of action so permitted; and
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                                                                            9
                                                                                            h.     All Just & Proper Relief: For such other and further relief as the Court deems
                                                                           10                      just and proper.

                                                                           11

                                                                           12
                                                                                Dated: December 16, 2022                           CLARKSON LAW FIRM, P.C.
                                                                           13
                                                                                                                                   By: /s/ Katherine A. Bruce
                                                                           14                                                          Ryan J. Clarkson
                                                                                                                                       Katherine A. Bruce
                                                                           15
                                                                                                                                       Kelsey J. Elling
                                                                           16
                                                                                                                                   CROSNER LEGAL, P.C.
                                                                           17
                                                                                                                                   By: /s/ Craig W. Straub
                                                                           18                                                           Michael R. Crosner
                                                                           19                                                           Zachary M. Crosner
                                                                                                                                        Chad A. Saunders
                                                                           20                                                           Craig W. Straub

                                                                           21                                                           Attorneys for Plaintiff
                                                                           22

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                                                                                                      FIRST AMENDED CLASS ACTION COMPLAINT
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                                                                            1                                   DEMAND FOR JURY TRIAL

                                                                            2        Plaintiff hereby demands a trial by jury on all issues and causes of action so triable.

                                                                            3
                                                                                Dated: December 16, 2022                             CLARKSON LAW FIRM, P.C.
                                                                            4

                                                                            5                                                        By: /s/ Katherine A. Bruce
                                                                                                                                         Ryan J. Clarkson
                                                                            6                                                            Katherine A. Bruce
                                                                                                                                         Kelsey J. Elling
                                                                            7
                                                                                                                                     CROSNER LEGAL, P.C.
                                                                            8
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                                                                            9                                                        By: /s/ Craig W. Straub
                                                                                                                                          Michael R. Crosner
                                                                           10                                                             Zachary M. Crosner
                                                                                                                                          Chad Saunders
                                                                           11                                                             Craig W. Straub
                                                                           12
                                                                                                                                          Attorneys for Plaintiff
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                                                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
